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  7
  8
                                UNITED STATES DISTRICT COURT
  9
                               CENTRAL DISTRICT OF CALIFORNIA
 10
 11
      Young Hee Park,                                    CASE NO.
 12
                 Plaintiff,
 13                                                      Complaint for Damages and
            vs.                                          Injunctive Relief for Violations Of:
 14                                                      American’s With Disabilities Act;
 15
      Erick J. Bickett d/b/a E & S Management            Unruh Civil Rights Act
      Services, an individual; Shelly Ann
 16   Bagwell-Bickett d/b/a E & S Management
      Services, an individual; and DOES 1-10
 17   inclusive,

 18              Defendants,
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 22
 23
          Plaintiff Young Hee Park complains of Defendants Erick J. Bickett d/b/a E & S
 24
      Management Services, an individual; Shelly Ann Bagwell-Bickett d/b/a E & S
 25
      Management Services, an individual; and DOES 1-10 (‘Defendants’) and alleges as
 26
      follows:
 27
           PARTIES:
 28
            1.        Plaintiff is a California resident with physical disabilities. She is


                               COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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      substantially limited in her ability to walk. She is a paraplegic who uses a walker for
  2
      mobility.
  3
             2.      Defendants are, or were at the time of the incidents, the real property
  4
      owner(s), business operator(s), lessor(s) and/or lessee(s) of Fix Auto Anaheim
  5
      (“AUTO”) located at or about 1331 South Auto Center Drive, Anaheim, California.
  6
             3.      Plaintiff does not know the true names of Defendants, their business
  7
      capacities, their ownership connection to the property and business, or their relative
  8
      responsibilities in causing the access violations herein complained of, and alleges a
  9
      joint venture and common enterprise by all such Defendants. Plaintiff is informed and
 10
      believes that Defendants herein, including Does 1 through 10, inclusive, is responsible
 11
      in some capacity for the events herein alleged, or is a necessary party for obtaining
 12
      appropriate relief. Plaintiff will seek leave to amend when the true names, capacities,
 13
      connections, and responsibilities of Defendants and Does 1 through 10, inclusive, are
 14
      ascertained.
 15
 16
             JURISIDICTION & VENUE:
 17
             4.      This court has subject matter jurisdiction over this action pursuant to 28
 18
      U.S.C § 1331 and § 1343 (a)(3) & (a)(4) for violations of the American with
 19
      Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
 20
             5.      Pursuant to supplemental jurisdiction, an attendant and related cause of
 21
      action, arising from the same nucleus of operative facts and arising out of the same
 22
      transactions, is also brought under California’s Unruh Civil Rights Act, which act
 23
      expressly incorporates the Americans with Disabilities Act.
 24
             6.      Venue is proper in this court pursuant to 28 U.S.C § 1391 (b) and is
 25
      founded on the fact that the real property which is the subject of this action is located in
 26
      this district and that Plaintiff’s cause of action arose in this district.
 27
 28
             FACTUAL ALLEGATIONS:

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             7.     Plaintiff went to AUTO in November 2018 to patronize its business.
  2
             8.     AUTO is a facility open to the public, a place of public accommodation,
  3
      and a business establishment.
  4
             9.     Parking spaces are one of the facilities, privileges and advantages offered
  5
      by Defendant to their customers at AUTO.
  6
             10.    There is no pole-mounted signage in front of the stall which would
  7
      indicate that such a parking space exists; specifically, the parking spaces lacked
  8
      international symbol of accessibility placed in front of the parking space mounted at
  9
      least five feet (60 in.) above the ground, measured to the bottom of the sign.
 10
             11.    International Symbol of Access (also known as International Wheelchair
 11
      Symbol in blue background) was once painted on the parking lot asphalt but is now
 12
      faded beyond recognition.
 13
             12.    There are no markings with words, “NO PARKING”, (in white letters a
 14
      minimum of 12 inches in height) within the access aisle (commonly known as the
 15
      “loading/unloading zone” with hashed blue lines.
 16
             13.    The parking spaces lacked “Van Accessible” and “Minimum Fine $250”
 17
      signs which should have been mounted along with the pole-mounted signage at least
 18
      five feet (60 in.) above the ground.
 19
             14.    The parking lot itself is also devoid of the signage “Unauthorized vehicles
 20
      parking in designated accessible spaces not displaying distinguishing placards issued
 21
      for persons with disabilities will be towed away at the owner’s expense. Towed
 22
      vehicles may be reclaimed at [insert address] or by telephoning [insert telephone
 23
      number]” which should place been placed at the entrance of the parking lot on a 24 in. x
 24
      24 in. reflective sheeting aluminum.
 25
             15.    Defendants have no procedure or policy in place to maintain the parking
 26
      spaces reserved for persons with disabilities. As such, accessible parking spaces are no
 27
      longer available for persons with disabilities who want to patronize AUTO.
 28
             16.    Plaintiff personally encountered this problem. This inaccessible parking

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                                              COMPLAINT
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  1
      lot denied the plaintiff full and equal access and caused her difficulty and frustration.
  2
             17.    Plaintiff would like to return and patronize AUTO but will be deterred
  3
      from visiting until Defendants cure the violation.
  4
             18.    Plaintiff would like to return and she intends to return once the violations
  5
      are fixed.
  6
             19.    Defendants have failed to maintain in working and useable conditions
  7
      those features required to provide ready access to persons with disabilities.
  8
             20.    Given the obvious and blatant violation, the plaintiff alleges, on
  9
      information and belief, that there are other violations, and barriers on the site that relate
 10
      to her disability. Plaintiff will amend the complaint, to provide proper notice regarding
 11
      the scope of this lawsuit, once she conducts a site inspection. However, please be on
 12
      notice that the plaintiff seeks to have all barriers related to her disability remedied. See
 13
      Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff encounters
 14
      one barrier at a site, she can sue to have all barriers that relate to her disability removed
 15
      regardless of whether she personally encountered them).
 16
             21.    Additionally, on information and belief, the plaintiff alleges that the
 17
      failure to remove these barriers was intentional because: (1) these particular barriers are
 18
      intuitive and obvious; (2) Defendants exercised control and dominion over the
 19
      conditions at this location and, therefore, the lack of accessible facilities was not an
 20
      “accident” because had Defendants intended any other configuration, they had the
 21
      means and ability to make the change.
 22
 23
      I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICAN WITH
 24
      DISABILITES ACT OF 1990 (On behalf of plaintiffs and against all Defendant (42
 25
      U.S.C. section 12101, et seq.)
 26
             22.    Plaintiff re-pleads and incorporates by reference, as if fully set forth again
 27
      herein, the allegations contained in all prior paragraphs of this complaint.
 28
             23.    Under the ADA, it is an act of discrimination to fail to ensure that the

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  1
      privileges, advantages, accommodations, facilities, goods and services of any place of
  2
      public accommodation is offered on a full and equal basis by anyone who owns, leases,
  3
      or operates a place of public accommodation. See 42 U.S.C. § 12182 (a).
  4
      “Discrimination” is defined, inter alia, as follows:
  5
             a. A failure to make reasonable modification are necessary to afford goods,
  6
               services, facilities, privileges, advantages, or accommodations to individuals
  7
               with disabilities, unless the accommodation would work a fundamental
  8
               alteration of those services and facilities. 42 U.S.C. § 12182 (b)(2)(A)(ii).
  9
             b. A failure to remove architectural barriers where such removal is readily
 10
               achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are defined by reference
 11
               to the ADAAG, found at 28 C.F.R., Part 36, Appendix “D.”
 12
             c. A failure to make alterations in such a manner that, to the maximum extent
 13
               feasible, the altered portions of the facility are readily accessible to and usable
 14
               by individuals with disabilities, including individuals who use wheelchairs or
 15
               to ensure that, to the maximum extent feasible, the path of travel to the altered
 16
               area and the bathrooms, telephones, and drinking fountains serving the altered
 17
               area are readily accessible to and usable by individuals with disabilities. 42
 18
               U.S.C § 12183(a)(2).
 19
             24.    Pursuant to 28 C.F.R., Part 36, Appendix D (herein after “1991
 20
      Standards”), section 4.1.2, and 36 C.F.R., Part 1191, Appendix B (herein after “2010
 21
      standards”), Section 208.2, if a business provides between 1 and 25 parking spaces,
 22
      they must provide at lease one handicap parking space that is van accessible (having an
 23
      eight foot access aisle).
 24
             25.     Here, Defendants did not provide a single ADA compliant, useable
 25
      accessible parking space in its parking lot.
 26
             26.    A public accommodation must maintain in operable working condition
 27
      those features of its facilities and equipment that are required to be readily accessible to
 28
      and usable by persons with disabilities. 28 C.F.R. § 36.211(a).

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                                                COMPLAINT
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  1
                27.   Here, the failure to ensure that the accessible facilities were available and
  2
      ready to be used by the plaintiff is a violation of the law.
  3
                28.   Given its location and options, AUTO is a business that the plaintiff will
  4
      continue to desire to patronize but he has been and will continue to be discriminated
  5
      against due to the lack of accessible facilities and, therefore, seeks injunctive relief to
  6
      remove the barriers.
  7
  8
      II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
  9
      RIGHTS ACT (On behalf of plaintiff and against all Defendant) (Cal Civ § 51-53)
 10
                29.   Plaintiff repleads and incorporates by reference, as if fully set forth again
 11
      herein, the allegations contained in all prior paragraphs of this complaint.
 12
                30.   Because Defendants violated plaintiff’s rights under the ADA, they also
 13
      violated the Unruh Civil Rights Act and are liable for damages. (Civ. Code § 51(f),
 14
      52(a).)
 15
                31.   Because the violation of the Unruh Civil Rights Act resulted in difficulty,
 16
      discomfort or embarrassment for the plaintiffs, Defendants are also each responsible for
 17
      statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-(c).)
 18
 19
                PRAYER:
 20
                Wherefore, Plaintiff prays that this court award damages and provide relief as
 21
      follows:
 22
                1.    For injunctive relief, compelling Defendants to comply with the
 23
      Americans with Disabilities Act and the Unruh Civil Rights Act. Note: Plaintiff is not
 24
      invoking section 55 of the California Civil Code and is not seeking injunctive relief
 25
      under the Disabled Persons Act at all.
 26
                2.    Damages under the Unruh Civil Rights Act which damages provide for
 27
      actual damages and a statutory minimum of $4,000.
 28
                3.    Reasonable attorney fees, litigation expenses and costs of suit, pursuant to

                                                     6

                                                 COMPLAINT
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  1
      42 U.S.C. §12205; Cal. Civ. Code §52
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  3
      Dated: February 4, 2018                    LAW OFFICES OF JONG YUN KIM
  4
  5                                                 BY:/s/ Jong Yun Kim
  6                                                 Jong Yun Kim, Esq.
                                                    Attorneys for Plaintiff
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